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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff-Respondent,                       Criminal Case No. 09-20221
 v.                                                Civil Case No. 12-10989
                                                   HON. DENISE PAGE HOOD
 ROSA GENAO (D-9),

      Defendant-Petitioner.
 ________________________________/

           ORDER DENYING MOTION UNDER 28 U.S.C. § 2255
          TO VACATE, SET ASIDE, OR CORRECT SENTENCE,
            ORDER DISMISSING CIVIL CASE NO. 12-10989,
                              and
         ORDER GRANTING CERTIFICATE OF APPEALABILITY

 I.    BACKGROUND

       On August 27, 2010, a jury found Defendant Rosa Genao guilty on the

 following charges: one count of Conspiracy to Commit Medicare Fraud, 18 U.S.C.

 § 3149; six counts of Health Care Fraud, 18 U.S.C. § 1347 and Aiding and

 Abetting, 18 U.S.C. § 2; and one count of Destruction or Alteration of Records, 18

 U.S.C. § 1519 and Aiding and Abetting, 18 U.S.C. § 2. (Jury Verdict Form, Doc.

 No. 200) Genao was sentenced to concurrent terms of 97 months of imprisonment

 on each count, followed by concurrent terms of 2 years on supervised release on

 each count. Genao was ordered to pay restitution in the amount of $1,789,234.74

 (jointly and severally). (Judgment, Doc. No. 242, filed March 21, 2011) A Notice
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 of Appeal was filed by Genao on March 16, 2011. (Doc. No. 238) The appeal was

 voluntarily dismissed on January 6, 2012. (Doc. No. 280).

       Genao filed, pro se, the instant Motion to Vacate, Set Aside, or Correct

 Sentence under 28 U.S.C. § 2255 on March 5, 2012. (Doc. No. 281) The Court

 appointed counsel on behalf of Genao on July 31, 2012. (Doc. No. 301) The

 parties engaged in discovery regarding the ineffective assistance of counsel claim

 raised by Genao in her motion. An evidentiary hearing was held on July 23, 2013.

 The parties thereafter submitted supplemental briefs.

 II.   ANALYSIS

       Section 2255 authorizes a federal prisoner to move the district court to

 vacate a sentence. 28 U.S.C. § 2255(a). Motions brought under 28 U.S.C. § 2255

 are subject to a one-year limitations period established by the Antiterrorism and

 Effective Death Penalty Act of 1996 (“AEDPA”). Dunlap v. United States, 250

 F.3d 1001, 1004-05 (6th Cir. 2001).          The AEDPA established a one-year

 limitations period for § 2255 motions, generally running from “the date on which

 the judgment of conviction becomes final.” 28 U.S.C. § 2255(f)(1). When a

 movant does not pursue a direct appeal to the court of appeals, the conviction

 becomes final on the date the time for filing such an appeal expires. Sanchez-

 Castellano v. United States, 358 F.3d 424, 428 (6th Cir. 2004).


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       Under the Sixth Amendment, a defendant has a right to “have the Assistance

 of Counsel for his defence.” U.S. Const. Amend. VI. A defendant has a right to

 “reasonably effective assistance of counsel.” Strickland v. Washington, 466 U.S.

 668, 687 (1984). In Strickland, the Supreme Court articulated a two prong test for

 ineffective counsel:

                     First, the defendant must show that counsel’s
              performance was deficient. This requires showing that
              counsel made errors so serious that counsel was not
              functioning as the “counsel” guaranteed the defendant by
              the Sixth Amendment. Second, the defendant must show
              that the deficient performance prejudiced the defense.
              This requires showing that counsel’s errors were so
              serious as to deprive the defendant of a fair trial, a trial
              whose result is reliable. Unless a defendant makes both
              showings, it cannot be said that the conviction . . .
              resulted from a breakdown of the adversary process that
              renders the result unreliable.

 Id. “There is a strong presumption that legal counsel is competent.” United States

 v. Osterbrock, 891 F.2d 1216, 1220 (6th Cir. 1989). In addition, a “reviewing

 court must give a highly deferential scrutiny to counsel’s performance.” Ward v.

 United States, 995 F.2d 1317, 1321 (6th Cir. 1993). “The reasonableness of

 counsel’s performance is to be evaluated from counsel’s perspective at the time of

 the alleged error and in light of all the circumstances.” Kimmelman v. Morrison,

 477 U.S. 365, 384 (1986). “The defendant must show that there is a reasonable

 probability that, but for counsel’s unprofessional errors, the result of the

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 proceeding would have been different. A reasonable probability is a probability

 sufficient to undermine confidence in the outcome.” Strickland, 466 U.S. at 694.

 The defendant bears the burden of showing that counsel was so deficient and that

 prejudice resulted from counsel’s errors. Id. at 686-87.

       In Missouri v. Frye, 132 S.Ct. 1399 (2012) and Lafler v. Cooper, 132 S.Ct.

 1376 (2012), the Supreme Court held that to establish an ineffective assistance of

 counsel claim in the plea-bargaining process, the defendant must show not only

 that counsel was deficient, but that the outcome of the plea process would have

 been different with competent advice. Lafler, 132 S.Ct. at 1384 (citing Frye, 132

 S.Ct. at 1388-89). In Frye, the Supreme Court held that defense counsel has the

 duty to communicate formal offers from the prosecution to accept a plea on terms

 and conditions that may be favorable to the accused. Frye, 132 S.Ct. at 1408.

 Counsel’s failure to convey the plea offer to his client or allow the client to

 consider the offer, is ineffective of counsel claim under the Constitution. Id. The

 defendant must then show prejudice–a reasonable probability that the earlier plea

 offer would have been accepted by the defendant, had the defendant been informed

 of the plea offer.   Id. at 1409.   A defendant must also demonstrate that the

 prosecution would not have canceled the offer or that the trial court would have

 accepted the plea. Id. The defendant must show a reasonable probability that the


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 end result of the criminal process would have been more favorable by reason of a

 plea to a lesser charge or a sentence of less prison time. Id.

       This issue remains in this motion: “whether Petitioner is entitled to relief

 under § 2255 based on her claim that her prior counsel was ineffective by failing to

 effectively convey to her the government’s plea offer.” (Pet. Supp. Br., Doc. 318,

 p. 1) Genao claims that it was always her intention to accept a plea offer from the

 Government, and that her trial counsel, Leonard Sands, failed to convey such to her

 prior to or during the trial. The Government responds that the evidence supports a

 finding that Genao’s counsel conveyed the plea offer to Genao.

       Genao testified that she was born and raised in the Dominican Republic.

 Her native language is Spanish. She received a medical doctor degree in the

 Dominican Republic, with a pediatric specialty. Genao came to the United States

 in 1990 where she studied English, passed all her medical boards and completed

 her residency in Puerto Rico. She admits she is able to communicate in English,

 but has some difficulty with technical issues or if someone speaks quickly.

       At the criminal investigation stage of the case, Genao retained counsel, Mr.

 Alfaro. She later learned that Alfaro was representing another co-defendant, who

 later became a key government witness against her. Genao sought to retain new

 counsel. Her stepfather told her about an advertisement for the Cochran Law Firm


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 he saw at a bus stop in Miami. Both she and her husband, Juan De Oleo, a co-

 defendant in this case, called the phone number listed in the advertisement. Peter

 Heller responded to the call. Heller explained that he would represent Genao’s

 husband and that he would refer Genao to another attorney, Leonard Sands. Genao

 indicated she communicated with Sands’ office usually through his paralegal,

 Yasir Mercado, who spoke Spanish.         At the request of Sands, Genao made

 recordings about her life. Her son and niece translated Genao’s notes from Spanish

 to English.

       Sands recommended to her to wait and see what the Government would

 offer Genao.   Genao testified that Sands and Heller indicated to her and her

 husband that they would “pretend” to go to trial in order to intimidate the

 Government, but that at the end they would not go to trial. Genao indicated that

 she often asked Sands if he had spoken to the prosecutor, but that Sands always

 replied that he had not spoken to them.

       Sands and Heller traveled to Washington, D.C. in April 2010 to meet with

 the Government prosecutor, Benjamin Singer. They indicated to Genao and her

 husband that Singer was not offering anything so they wanted to go to someone

 above Singer’s level. When they returned, Sands and Heller met with Genao and

 her husband on two occasions, April 16 and 19, 2010. Heller’s secretary, Joanna,


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 was at the meeting to help translate, but she did not speak Spanish very well.

 Genao testified that at no time during the meetings did Sands tell her or show her a

 proposed plea agreement from the Government. Genao testified that the first time

 she saw the proposed plea agreement was when her current counsel came to see her

 in prison in Coleman, Florida, in connection with this motion. The proposed plea

 agreement set forth a 57 to 72 months imprisonment. Genao testified that Sands

 did give her some documents during the April 2010 meetings, but she did not

 believe the plea agreement was included in the documents. Genao testified that at

 her meeting with Sands on April 19, 2010, it was her understanding that she either

 had to go to trial or plead guilty without an offer from the Government. Genao

 further testified that at trial, although her counsel and the Government discussed a

 plea, no such offer was made to Genao. Genao indicated that if the plea offer had

 been shown to her, she would have accepted the offer of pleading to one charge

 with a term of imprisonment of 57-72 months.

       Sands and Heller testified that they received plea offers from the

 Government during an April 12, 2010 meeting in Washington, D.C., along with

 draft Rule 11 Plea Agreements for their respective clients. Sands and Heller met

 with Genao and her husband on April 16, 2010 at Heller’s office.             Joseph

 Vredevelt and Johanna Garcia Benedi (“Garcia”), associates of Heller, were in


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 attendance. Sands, Heller and Garcia testified that Garcia translated the plea offer

 to Genao and her husband. Sands testified that they spent two to three hours in

 Heller’s office discussing the plea offers. Sands indicated that they discussed the

 dollar loss amount, possible cooperation by Genao, sentencing guidelines issues

 and many other factors that could have enhanced the sentence. Heller and Garcia

 testified that the plea agreement was reviewed with Genao each page and each

 paragraph. Garcia, an associate with Heller’s firm at that time, testified that it was

 common for her to translate for Spanish-speaking clients and that she recalled

 translating the plea offer to Genao. Garcia testified that her first language is

 Spanish and she has been speaking Spanish since birth. Sands testified that he

 gave Genao a copy of the plea agreement at the April 16, 2010 meeting. Genao

 conceded on cross-examination that she was given certain documents at the first

 meeting, but she claimed she never reviewed them because she was overwhelmed.

       Sands, Heller and Garcia testified that Genao rejected the plea offer during

 the meeting. Heller and Garcia testified that Genao indicated she wanted to go to

 trial. Heller indicated that Genao feared that if she accepted the plea offer, Genao

 would lose her medical license. Sands asked Genao to think about the offer and

 indicated that she did not have to make a decision that day. Sands scheduled a

 second meeting on Monday, April 19, 2010 to discuss the plea offers. At this


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 second meeting, Sands and Heller testified that Genao and her husband again

 rejected the plea offers. Sands and Heller testified that the second meeting was

 translated into Spanish by either Garcia or by Heller’s secretary, Gia Alonzo.

 Garcia testified that she translated for Genao in at least three meetings. Sands’

 contemporaneous notes of the April 16, 2010 meeting reflect that the plea offers

 were discussed, the proposed Rule 11 Agreements were given to Genao and her

 husband and that Garcia assisted in the translation. Sands’ contemporaneous notes

 of the April 19, 2010 meeting indicate that Genao responded that she “definitely”

 wanted to go to trial.

       Based on the evidence submitted at the evidentiary hearing and in the

 parties’ briefs, the Court finds that Genao has failed to meet her burden to show

 that her counsel did not convey the Government’s written plea offer to her. In this

 case, there are two conflicting versions of whether Sands conveyed the

 Government’s plea offer to Genao. Genao testified that Sands failed to convey the

 Government’s plea offer to her, verbally or in writing. Sands testified that he and

 Heller conveyed both to Genao and her husband the Government’s plea offers and

 that he reviewed each page and paragraph of the written offer to Genao. Heller and

 Garcia testified that to at the first and second meeting in April 2010, Sands

 reviewed the Government’s plea offer at length with Genao and that Genao. On


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  both days, Genao rejected the offer. Sands’ contemporaneous notes of the two

  meetings support his version of the meetings.

        Genao’s testimony is consistent with her claim that Sands never conveyed a

  plea offer by the Government to her. She admits to having two meetings in April

  2010 after her counsel went to Washington, D.C. to discuss plea offers from the

  Government. Yet, she claims that no such plea offers resulted from the meeting

  her counsel had with the Government in Washington, D.C.          The Court finds

  Genao’s testimony that no plea offers were discussed at the two meetings between

  Genao, her husband and both counsel, is not credible.       These meetings were

  immediately after the counsels’ trip to Washington, D.C. and the meetings were

  lengthy. Sands, Heller and Heller’s associate, Garcia, all testified that the plea

  offers were discussed at length with Genao and her husband and that a copy of the

  Rule 11 Plea Agreement was given to Genao after the first meeting. Although

  Genao testified that she did not receive a copy of the written Rule 11 Plea

  Agreement, she admitted that she did receive documents after the first meeting, but

  that she did not review the documents because she was overwhelmed. Sands’

  contemporaneous notes support his testimony that the plea offer was discussed and

  that Genao was given a copy of the written Rule 11 Plea Agreement.

        Genao testified that she does not understand English that well. Although it


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  may well be that Genao does not understand English perfectly, she understands

  English well enough to pass her medical boards and other examinations to become

  licensed as a medical doctor in the United States.          Genao is also able to

  communicate with her patients, although her main practice appeared to be in the

  Miami, Florida area where Spanish is often spoken. Even if Genao is unable to

  understand English well enough to discuss matters with her counsel, the testimony

  from Sands, Heller and Garcia was that Garcia translated the discussions and the

  Rule 11 Plea Agreement, with Genao, paragraph by paragraph at the April 16,

  2010 meeting. Although Genao claims that Garcia was not a certified Spanish

  translator, Genao has not shown that certification is required in discussions

  between her and her counsel. Garcia testified that Spanish is her first language and

  that she has had to translate for her parents for years because they cannot speak

  English. Genao’s testimony that she does not understand English well enough or

  that the contents of the Rule 11 Plea Agreement was not properly translated to her

  in Spanish is not credible.

        Genao claims that the testimonies of Sands and Heller were not credible

  because they had a financial incentive to go to trial instead of taking a plea. Genao

  argues that both Heller’s and Sands’ testimonies regarding their fee structure were

  evasive. The Court agrees that Heller’s and Sands’ testimonies on their respective


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  fee structures were less than candid, but they did not dispute Genao’s claim that

  Heller and Sands received from Genao and her husband close to $300,000 in fees.

  The fees may be reasonable in light of the length of the pretrial and trial

  proceedings in this case and the agreement between Heller and Sands and their

  clients, Genao and her husband. There is no dispute that the fees between counsel

  and clients are subject to an agreement. The amount of fees alone cannot establish

  lack of credibility on the part of Heller or Sands because Heller and Sands do not

  dispute that they received from Genao and her husband fees close to $300,000.

        Genao claims that she would have accepted the Rule 11 Plea Agreement if

  she would have known about the offer. However, Genao has not admitted to any

  of the factual allegations in the proposed Rule 11 Plea Agreement.           She has

  consistently denied any guilt in connection with the charges brought against her.

  On appeal, and even in her post-judgment submissions before the Court, Genao

  does not admit that she was guilty of any of the charges or, in particular, the charge

  set forth in the proposed Rule 11 Plea Agreement. Genao asserts in her motion that

  she was used as a “scapegoat” in the case. She further asserts that she only had an

  advisory role in the Michigan clinics since she was not a licensed physician in

  Michigan. Genao claims her counsel failed to argue she only had a minimal role in

  the conspiracy and that the amount attributed to her at sentencing was incorrect.


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  (Motion, Doc. No. 281) Genao only testified that she would have accepted the

  plea offer with the proposed sentencing range of 57-71 months, had she known of

  such offer. Frye requires that Genao must show that she would have accepted the

  Rule 11 Plea Agreement offered by the Government, if such an offer was made.

  Other than agreeing to the lower sentencing range than what she received at

  sentencing, Genao has not made a showing that she would have accepted the facts

  set forth in the Rule 11 Plea Agreement establishing her guilt.

         Based on the above, the Court finds that Genao’s counsel conveyed the plea

  offer to Genao in April 2010 and that Genao did not accept the offer. The Court

  also finds that even if the plea offer was conveyed to Genao, she has failed to

  establish prejudice in that she has not shown she would have accepted the proposed

  Rule 11 Plea Agreement offered by the Government.

  III.   CERTIFICATE OF APPEALABILITY

         Federal Rule of Appellate Procedure 22 provides that an appeal may not

  proceed unless a certificate of appealability is issued under 28 U.S.C. § 2253. Rule

  11 of the Rules Governing Section 2225 Proceedings, which was amended as of

  December 1, 2009, requires that a district court must issue or deny a certificate of

  appealability when it enters a final order. A certificate of appealability may issue

  “only if the applicant has made a substantial showing of the denial of a


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  constitutional right.” 28 U.S.C. § 2253(c)(2). Courts must either issue a certificate

  of appealability indicating which issues satisfy the required showing or provide

  reasons why such a certificate should not issue. 28 U.S.C. § 2253(c)(3); Fed. R.

  App. P. 22(b); In re Certificates of Appealability, 106 F.3d 1306, 1307 (6th Cir.

  1997).

        Although Genao failed to show she was denied ineffective assistance of

  counsel as set forth above, the Court finds that a certificate of appealability should

  be issued in this case.     The issue certified is whether Genao’s counsel was

  ineffective for failing to convey a plea offer made by the Government and whether

  Genao was prejudiced by counsel’s failure to convey the plea offer. The Court

  issues a certificate of appealability should Genao file an appeal.

  IV.   CONCLUSION

        For the reasons set forth above,

        IT IS ORDERED that the Motion to Vacate, Set Aside or Correct Sentence

  under 28 U.S.C. § 2255 [Criminal Case No. 09-20221-D9, Doc. No. 281] is

  DENIED.

        IT IS FURTHER ORDERED that the Motion to Vacate, Set Aside or

  Correct Sentence under 28 U.S.C. § 2255 [Civil Case No. 12-10989] is

  DISMISSED with prejudice and designated as CLOSED.


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         IT IS FURTHER ORDERED that a certificate of appealability is issued in

  this case.



                          s/Denise Page Hood
                          Denise Page Hood
                          United States District Judge

  Dated: February 27, 2015

  I hereby certify that a copy of the foregoing document was served upon counsel of
  record on February 27, 2015, by electronic and/or ordinary mail.

                          s/LaShawn R. Saulsberry
                          Case Manager




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